Case 2:13-cv-02567-JTF-dkv Document 91 Filed 03/24/15 Page 1 of 2                 PageID 2565



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


PARKWAY FOX, L.P., d/b/a
PARKWAY VILLAGE WEST,
                                                       CIVIL ACTION NO. 2:13-cv-02567
                Plaintiff,
                                                       JUDGE FOWLKES
VERSUS
                                                       MAGISTRATE JUDGE VESCOVO
THE MASSACHUSETTS BAY
INSURANCE COMPANY

                Defendant.



         PLAINTIFF’S VOLUNTARY MOTION TO DISMISS WITH PREJUDICE

         NOW INTO COURT, through undersigned counsel, comes plaintiff, Parkway Fox, L.P.

d/b/a Parkway Village West, and upon representing that it has settled and compromised all of its

claims against Massachusetts Bay Insurance Company in this matter, hereby moves this

Honorable Court to enter an order dismissing its Complaint and all claim asserted herein against

Massachusetts Bay Insurance Company with prejudice, each party will be responsible for their

own costs and neither party will seek or be awarded discretionary costs.

                                                   Respectfully submitted,


                                               By: /s/Andrew M. Plunkett
                                                   Andrew M. Plunkett
                                                   CHILDRESS DUFFY, LTD.
                                                   500 N. Dearborn St., Ste. 1200
                                                   Chicago, IL 60654
                                                   aplunkett@childresslawyers.com




PD.16788124.1
Case 2:13-cv-02567-JTF-dkv Document 91 Filed 03/24/15 Page 2 of 2                   PageID 2566



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of March 2015, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send a notice of electronic filing to

all counsel or record.


                                                     /s/Andrew M. Plunkett
                                                     Andrew M. Plunkett
                                                     CHILDRESS DUFFY, LTD.
                                                     500 N. Dearborn St., Ste. 1200
                                                     Chicago, IL 60654
                                                     aplunkett@childresslawyers.com

Tessa P. Vorhaben, Esq.
Mark C. Dodart, Esq.
PHELPS DUNBAR, LLP
Canal Place 365 Canal Street, Suite 2000
New Orleans, Louisiana 70130-6534
vorhabet@phelps.com
mdodart@phelps.com

John E. Anderson, Sr.
DICKINSON WRIGHT, PLLC
424 Church Street, Suite 1401
Nashville, TN 37219
janderson@dickinsonwright.com

J. Brandon McWherter
Clinton H. Scott
GILBERT RUSSELL MCWHERTER, PLC
101 N. Highland Avenue
Jackson, TN 38301
bmcwherter@gilbertfirm.com
cscott@gilbertfirm.com




                                                 2
PD.16788124.1
